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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                          PENSACOLA DIVISION

UNITED STATES OF AMERICA

v.                                                      Case No. 3:20-cr-34-TKW

RICHARD L. SAUNDERS, IV
_____________________________/

                     REPORT AND RECOMMENDATION
                      CONCERNING PLEA OF GUILTY

      The Defendant, by consent, has appeared before me pursuant to Rule 11, Fed.

R. Crim. P., and has entered a plea of guilty to Count One of the indictment. After

cautioning and examining the Defendant under oath concerning each of the subjects

mentioned in Rule 11, I determined the guilty plea was knowing and voluntary and

the offense charged is supported by an independent basis in fact containing each of

the essential elements thereof. I therefore recommend the plea of guilty be accepted

and the Defendant be adjudicated guilty and have sentence imposed accordingly.

Dated:       October 29, 2020


                                /s/   Hope Thai Cannon
                                HOPE THAI CANNON
                                UNITED STATES MAGISTRATE JUDGE
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                           NOTICE TO THE PARTIES


      Objections to these proposed findings and recommendations may be filed
within twenty-four (24) hours after being served a copy thereof. Any different
deadline that may appear on the electronic docket is for the court’s internal use
only, and does not control. A copy of objections shall be served upon the
magistrate judge and all other parties. A party failing to object to a magistrate
judge's    findings   or   recommendations    contained    in   a   report   and
recommendation in accordance with the provisions of 28 U.S.C. § 636(b)(1)
waives the right to challenge on appeal the district court's order based on
unobjected-to factual and legal conclusions. See U.S. Ct. of App. 11th Cir. Rule
3-1; 28 U.S.C. § 636.




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